                        Case: 23-5609         Document: 7         Filed: 07/06/2023     Page: 1
                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            23-5609
Appeal No.: ___________________________________

            Jane Doe 1, et al.                      William Thornbury, Jr., et al.
Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:
JANE DOE 1; JOHN DOE 1; JOHN MINOR DOE 1; JOHN DOE 2; JOHN MINOR DOE 2; JANE
DOE 3; JOHN DOE 3; JANE MINOR DOE 3; JANE DOE 4; JOHN DOE 4; JANE MINOR DOE 4;
JANE DOE 5; JOHN DOE 5; JOHN MINOR DOE 5; JANE DOE 6; JOHN DOE 6; JANE MINOR
DOE 6; JANE DOE 7; JOHN DOE 7; JANE MINOR DOE 7



         ‫ ܆‬Appellant             ‫ ܆‬Petitioner             ‫ ܆‬Amicus Curiae               ‫܆‬Criminal Justice Act
         ✔ Appellee
         ‫܆‬                       ‫ ܆‬Respondent             ‫ ܆‬Intervenor                        (Appointed)

✔ Check if a party is represented by more than one attorney.
‫܆‬
‫ ܆‬Check if you are lead counsel.

If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Corey Shapiro
Attorney Name: ________________________________               Corey Shapiro
                                                Signature: s/_______________________________

           ACLU of Kentucky Foundation
Firm Name: ______________________________________________________________________________

                  325 W. Main St., Ste. 2210
Business Address: ________________________________________________________________________

                 Louisville, KY 40202
City/State/Zip: ____________________________________________________________________________

                               (502) 581-9746
Telephone Number (Area Code): _____________________________________________________________

                corey@aclu-ky.org
Email Address: ___________________________________________________________________________

Please ensure your contact information above matches your PACER contact information. If necessary, update
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                                                 CERTIFICATE OF SERVICE

  The electronic signature above certifies that all parties or their counsel of record have been electronically
  served with this document as of the date of filing.


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